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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                            Case No. 07-20099-20-JWL


Mayra Vanessa Gandara Escarcega,

                    Defendant.

                                 MEMORANDUM & ORDER

       This matter is before the court on Ms. Escarcega’s pro se motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) in which Ms. Escarcega asks the court to reduce his

sentence based on Amendment 782 to the United States Sentencing Guidelines. The motion is

granted to the extent set forth below as Ms. Escarcega is entitled to a one-month reduction in his

sentence.

       Ms. Escarcega received a low-end guideline sentence of 121 months consistent with the

guideline range for imprisonment based on a total offense level of 31 and a criminal history

category of II. Amendment 782 would reduce Ms. Escarcega’s offense level to 29, warranting

an amended guideline range of 97 to 121 months. Nonetheless, while Ms. Escarcega is eligible

for a two-level reduction in her base offense level, she remains subject to the mandatory

minimum sentence of 120 months pursuant to 21 U.S.C. §§ 841(b)(1)(A). Thus, the court is

only authorized to grant Ms. Escarcega a one-month reduction in her sentence, from 121 months

to 120 months. The statutory mandatory minimum precludes the court from sentencing Ms.

Escarcega to less than 120 months. United States v. Randle, 508 Fed. Appx. 766, 768 (10th Cir.
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2013) (on § 3582(c) motion, district court has no authority or discretion to depart from a

statutorily mandated minimum sentence).



          IT IS THEREFORE ORDERED BY THE COURT THAT Ms. Escarcega’s motion

for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 977) is granted as described

herein and Ms. Escarcega’s sentence is reduced from 121 months to 120 months

imprisonment. All other provisions of the judgment dated November 30, 2009 shall remain in

effect.



          IT IS SO ORDERED.



          Dated this 22nd day of April, 2015, at Kansas City, Kansas.

          Effective Date: November 1, 2015.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




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